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Update on County Superior Court Filing:

Pursuant to previous court order in this matter, plaintiff filed a case in Sonoma County
superior Court civil division seeking restoration of his firearms rights.

At a case management conference on April 13, 2021, Superior Court Judge Dollard
stated that she was unfamiliar with the petition and believed that such a petition was
properly filed with the criminal clerk.

Subsequently, counsel for plaintiff brought the petition form to the criminal clerk. The
criminal clerk then contacted plaintiff’s counsel to say that they did not accept such
forms and that they should be filed with the civil department.

Plaintiffs counsel then sought further guidance from the civil clerk who acknowledged
that they were unfamiliar with the proper protocol for such a form but would seek to
clarify and would strive to deliver the form to the proper department.

The most recent information obtained from the civil clerk was a suggestion that such
matters were actually handled by the probate department and assurance that the form
had been delivered to the probate department at the time of this writing, the probate
department has not released a hearing date or confirmed that they will hold a hearing.

A further case management conference in front of civil superior court Judge Dollard is
scheduled for July 27th.

I declare, under the penalty of perjury that the above statement is true and correct.

                                             _______/s/__________
                                             Timothy S. Kelly
                                             Attorney for plaintiff Easton Stokes
